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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

VTP RIVER WOODS LLC,
and WTP ARBOR ONE LLC,                              Case No. 24-cv-12646
                                                    Hon. Matthew F. Leitman
          Plaintiffs,                               Mag. Judge Kimberly G. Altman
v.

CITY OF YPSILANTI,
a Michigan municipal corporation,

          Defendant.


            DEFENDANT’S REPLY BRIEF IN SUPPORT OF MOTION
                TO DISMISS FIRST AMENDED COMPLAINT
     I.      Plaintiffs have failed to set forth evidence in opposition to summary
             judgment and are not entitled to merely state that summary judgment
             is premature.
     The Federal Rules of Civil Procedure require a party faced with a motion for

summary judgment to respond to specific facts and evidence. “The initial burden is

on the moving party to demonstrate that an essential element of the non-moving

party's case is lacking.” Kalamazoo River Study Group v. Rockwell Int'l Corp.,171

F.3d 1065, 1068 (6th Cir. 1999) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322-

23 (1986)). “The burden then shifts to the non-moving party to come forward with

specific facts, supported by evidence in the record, upon which a reasonable jury

could return a verdict for the non-moving party.” Id. (citing Anderson, 477 U.S. at

248). In meeting their respective burdens of proof, the moving party may rely on any


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of the evidentiary sources listed in Rule 56(c) or may merely rely upon the failure of

the nonmoving party to produce any evidence which would create a genuine dispute

for the jury. Street v. J.C. Bradford & Co., 886 F.2d 1472, 1478 (6th Cir.

1989). Essentially, a motion for summary judgment may be used to “challenge the

opposing party to ‘put up or shut up’ on a critical issue.” Id. A nonmoving party

must then present affirmative evidence to defeat a properly supported motion for

summary judgment. Id. at 1479.

        Rather than come forward with evidence which would support their equal

protection and due process claims, Plaintiffs instead seek to rely on the conclusory

argument that Defendant’s Motion is premature. However, Plaintiffs have failed to

follow the procedures available under the Federal Rules for asserting this defense to

summary judgment. To establish that a motion for summary judgment is premature,

the non-movant must “[show] by affidavit or declaration that, for specified reasons,

it cannot present facts essential to justify its opposition.” Fed. R. Civ. P. 56(d)(2).

“The affidavit must ‘indicate to the district court [the party's] need for discovery,

what material facts it hopes to uncover, and why it has not previously discovered the

information.’” Doe v. City of Memphis, 928 F.3d 481, 490 (6th Cir.

2019) (quoting Ball v. Union Carbide Corp., 385 F.3d 713, 720 (6th Cir. 2004)).

Courts have held that the failure to follow this established procedure bars a non-

movant from arguing that a well-supported motion is premature, and that discovery



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is needed. “[A] party may not simply assert in its brief that discovery was necessary

and thereby overturn summary judgment when it failed to comply with the

requirement of Rule 56(f) 1 to set out reasons for the need for discovery in an

affidavit.” Evans v. Technologies Applications & Service Co., 80 F.3d 954, 961 (4th

Cir. 1996) (internal quotation omitted); (“An inadequate discovery time argument

fails where the party complaining failed to take advantage of the procedural remedy

offered in Rule 56(f).”).

        Here, Plaintiff has failed to follow this procedure and has only offered the

mere speculation that discovery may reveal support for their claims. (ECF No.15,

PageID.493). This is not sufficient to oppose Defendant’s Motion under the Federal

Rules of Civil Procedure and Plaintiffs desire to go fishing for evidence in support

of their claims is not enough to entitle them to proceed with discovery in this case.

By Plaintiffs’ own admission, their properties have been cited for numerous code

violations. (ECF No.12-6, PageID.359-402). Plaintiffs have not denied the violations

or claimed that they were denied the opportunity to contest the violations in state

proceedings. Instead, Plaintiffs claim they need more time to “review and comply

with the notices.” (Amended Complaint, ¶ 41, ECF No.12, PageID.248). Claims that

notices are vague and do not provide proper notice of violations to be corrected are



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 Subdivision (f) was moved to subdivision (d) without substantial change in the
2010 amendments to the Federal Rules of Civil Procedure.

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similarly unsupported. (See Amended Complaint, ¶ 61, ECF No.12, PageID.251).

First, the inspection reports provide clear details regarding the violations cited. (See

ECF No.14-1, PageID.453-479). Second, if the written descriptions are not clear, a

simple observation of the condition of the buildings and individual units is enough

to place any reasonable person on notice. (See Photographs, ECF No.8-1,

PageID.211-233).

    II.      Plaintiffs First Amendment Claim

          In response to Defendant’s argument that Plaintiffs have failed to state a First

Amendment retaliation claim, Plaintiffs argue that their First Amendment claim is

not simply based on their submission of a FOIA request, but also based on statements

which Plaintiffs representatives voiced criticisms of the building department and its

ability to support its findings of code violations. (ECF No. 15, PageID.500). This

clarification does not alter the fact that Plaintiffs did not face any actual retaliation

in response to its speech. Even if Plaintiffs’ Amended Complaint is accepted as true,

at most, Plaintiffs were merely not provided the opportunity to engage in informal

discussions with the City prior to the hearing. However, Plaintiffs were still afforded

the same opportunity to be heard as they were otherwise entitled to under the law.

The denial of an informal meeting was therefore of no consequence, and Plaintiffs’

have thus failed to plead any actionable retaliation to support a claim under the First

Amendment. Accordingly, Plaintiffs’ First Amendment claim should be dismissed.



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    III.     Plaintiffs are improperly trying to utilize this lawsuit and their
             mandamus claim to attack a pending state administrative
             proceedings.
        Defendant’s Motion asks this Court to dismiss Plaintiffs’ request for

mandamus relief pursuant to Fed. R. Civ. P. 12(b)(6) as Plaintiffs lack actionable

federal law claims and mandamus cannot be used by federal courts to compel state

officers to act in accordance with state law. (ECF No.14, PageID.448). In response,

Plaintiffs argue that that they are entitled to mandamus on the basis of their federal

law claims. (ECF No.15, PageID.505-507). Once again, it is clear that Plaintiffs are

attempting to use this federal court litigation, and their request for mandamus

specifically, to undermine and circumvent state law proceedings. Plaintiffs have

available to them established procedures for addressing the revocation of their

COCs. There are ongoing proceedings with the City’s Administrative Hearings

Bureau (“AHB”) in connection with the COCs and the underlying building code

violations. Rather address those matters in the state administrative proceedings,

Plaintiffs seek a writ of mandamus from this Court granting the relief they want from

the AHB.

    Generally, federal courts avoid matters that will “interfere with the proceedings

or orders of state administrative agencies.” Rouse v. DaimlerChrysler Corp, 300 F.

3d 711, 716 (2002) (quoting New Orleans Pub. Serv. Inc. v. Council of New Orleans,

491 U.S. 350, 361; 109 S.Ct. 2506 (1989). While this case may not strictly present



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a Burford-type abstention scenario, it is unquestionable that Plaintiffs are seeking a

writ of mandamus to order state actors to comply with state law in effort to have

their COCs re-issued. This is an improper application of the All Writs Act. See

Dascola v. City of Ann Arbor, 22 F.Supp.3d 736, 746 (E.D. Mich. 2014) (stating that

“a federal court does not have the power to compel state officials to enforce state

rights”). Accordingly, Plaintiff’s request for mandamus relief should be dismissed.

    IV.      Plaintiffs should not be permitted to Amend their Complaint Again.

        Lastly, Plaintiffs argue in the alternative that they should be permitted to file

a second amended complaint. (ECF No. 15, PageID.507). While leave to amend is

generally “freely given when justice so requires”, leave may be denied at the

discretion of the court for various reasons, including where there has been “repeated

failure to cure deficiencies by amendments previously allowed” or where

amendment would be futile. Morse v. McWhorter, 290 F.3d 795, 799-800 (6th Cir.

2002). Additionally, the Sixth Circuit has upheld trial courts refusals to grant

multiple requests for leave to amend in response to repeated motions to dismiss.

See Gentry v. Tennessee Bd. of Jud. Conduct, No. 17-6171, 2018 WL 11339111 at

*3-4 (6th Cir. Mar. 26, 2018) (finding district court did not abuse in discretion in

denying plaintiff leave to file a third amended complaint where plaintiff “had already

amended his complaint once as a matter of right, ... the district accepted his second

amended complaint even though he filed it without leave of court ... and [plaintiff]



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was not entitled to continually update his complaint in response to motions to

dismiss filed by the defendants”); See also Nino v. Flagstar Bank, FSB, 766 F. Appx

199, 204 (6th Cir. 2019) (finding that granting leave was unwarranted, in part,

because of plaintiff's previous failure to cure).

        Here, Plaintiffs have already amended their Complaint once in response to a

motion to dismiss. (See ECF Nos. 8, 10, 12). That amendment failed to remedy the

deficiencies in Plaintiffs’ claims and Defendants again have sought dismissal.

Further amendment would not be warranted as Plaintiffs have multiple opportunities

to state their claims in this case.

                             CONCLUSION & RELIEF REQUESTED

        For the foregoing reasons, Defendant respectfully requests this Honorable

Court enter a dismissal pursuant to Fed.R.Civ. 12(b)(6) Fed.R.Civ. 56 and dismiss

Plaintiffs’ Amended Complaint, and award costs wrongfully incurred.

                                      Respectfully submitted,

                                      KERR, RUSSELL AND WEBER, PLC


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